825 F.2d 406Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Ronald GRAHAM, Plaintiff-Appellant,v.Lt. HEALLEY; Sgt. Keith; Officer McLauren; Carolyn J.Miller; Patricia Johnson, C. E. Thompson,Defendants-Appellees.
    No. 87-7084
    United States Court of Appeals, Fourth Circuit.
    Submitted May 28, 1987.Decided July 22, 1987.
    
      Ronald Graham, appellant pro se.
      Mary Sue Terry, Attorney General, for appellees.
      Before RUSSELL, WIDENER and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      A review of the record and the district court's opinion discloses that this appeal from its order denying relief under 42 U.S.C. Sec. 1983 is without merit.  Because the dispositive issues recently have been decided authoritatively, we deny leave to proceed in forma pauperis, dispense with oral argument and dismiss the appeal on the reasoning of the district court.  Graham v. Healley, C/A No. 87-24-R (E.D.Va., March 16, 1987).
    
    
      2
      DISMISSED.
    
    